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February 10, 2021


Via ECF

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       We write on behalf of the defendant, Stephen M. Calk, to request a single-day
adjournment of the trial date, currently scheduled to begin on June 28, 2021.

        Mr. Calk’s son has been accepted to the United States Military Academy at West Point,
which has a tradition of receiving new cadets, along with their parents, on what is known as
Reception Day. This year West Point’s Reception Day has been scheduled for June 28, 2021.
Mr. Calk requests a one-day adjournment of the trial so that he can attend Reception Day with
his son.

          The government does not object to this request.


Respectfully submitted,

/s/ Paul H. Schoeman

Paul H. Schoeman
Darren A. LaVerne

cc:       All counsel (by ECF)




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